12 F.3d 1109
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Arturo DURAZO, Defendant-Appellant,
    No. 93-10065.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 17, 1993.*Decided Dec. 6, 1993.
    
      Before:  SCHROEDER, D.W. NELSON, and THOMPSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Arturo Durazo appeals his conviction and sentence, following a jury trial, for possession with intent to distribute cocaine in violation of 21 U.S.C. Sec. 841(a)(1).  Pursuant to  Anders v. California, 386 U.S. 738 (1967), Durazo's attorney has filed a brief stating that he finds no issues for review.  Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issues for review.
    
    
      3
      We AFFIRM the district court's judgment and GRANT the motion of Jeffrey G. Buchella, Esq., to withdraw as counsel of record.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    